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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

 

Master File No. 1:17-cv-1338-AJT-JFA

IN RE WILLIS TOWERS WATSON PLC

PROXY LITIGATION CLASS ACTION

 

 

ORDER APPROVING
PLAN OF ALLOCATION OF NET SETTLEMENT FUND

This matter came on for hearing on May 21, 2021 (the “Settlement Hearing”) on Lead
Plaintiff's motion to determine whether the proposed plan of allocation of the Net Settlement Fund
(“Plan of Allocation”) created by the Settlement achieved in the above-captioned class action (the
“Action”) should be approved. The Court having considered all matters submitted to it at the
Settlement Hearing and otherwise; and it appearing that notice of the Settlement Hearing
substantially in the form approved by the Court was mailed to all Class Members who or which
could be identified with reasonable effort, and that a summary notice of the hearing substantially in
the form approved by the Court was published in The Wall Street Journal and released over the PR
Newswire pursuant to the specifications of the Court; and the Court having considered and
determined the fairness and reasonableness of the proposed Plan of Allocation,

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

l. This Order approving the proposed Plan of Allocation incorporates by reference the
definitions in the Stipulation and Agreement of Settlement dated January 15, 2021 (ECF No. 330-1)

(the “Stipulation”) and all terms not otherwise defined herein shall have the same meanings as set

forth in the Stipulation.
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2. The Court has jurisdiction to enter this Order approving the proposed Plan of
Allocation, and over the subject matter of the Action and all Parties to the Action, including all Class
Members.

3. Notice of Lead Plaintiff's motion for approval of the proposed Plan of Allocation was
given to all Class Members who or which could be identified with reasonable effort. The form and
method of notifying the Class of the motion for approval of the proposed Plan of Allocation satisfied
the requirements of Rule 23 of the Federal Rules of Civil Procedure, the Private Securities Litigation
Reform Act of 1995 (15 U.S.C. § 78u-4), due process, and all other applicable law and rules,
constituted the best notice practicable under the circumstances, and constituted due and sufficient
notice to all persons and entitics entitled thereto.

4. The Claims Administrator mailed over 70,000 copies of the Notice, which included
the Plan of Allocation, to potential Class Members and nominees, and no objections to the Plan of
Allocation have been received.

5. The Court hereby finds and concludes that the formula for the calculation of the
claims of Claimants as set forth in the Plan of Allocation mailed to Class Members provides a fair
and reasonable basis upon which to allocate the proceeds of the Net Settlement Fund among Class
Members with due consideration having been given to administrative convenience and necessity.

6. The Court hereby finds and concludes that the Plan of Allocation is, in all respects,
fair and reasonable to the Settlement Class. Accordingly, the Court hereby approves the Plan of
Allocation proposed by Lead Plaintiff.

7. Any appeal or any challenge affecting this Court’s approval of the Plan of Allocation

shall in no way disturb or affect the finality of the Judgment.
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8. There is no just reason for delay in the entry of this Order, and immediate entry by the

Clerk of the Court is expressly directed.

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SO ORDERED this _ 6? / a day of _/2 Ag , 2021.

Anthony J. Trerga
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United States ‘District Judge

 

 
